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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION

ANI)REW BLIKKEN,

Plaintiff,
Vs. Case No. 8:15-cv-1693-T-27MAP
RISEN CAPITAL, LLC,

Defendant.

/
QBLR

BEFORE THE COURT is the Report and Recommendation (Dkt. 53) submitted by the
Magistrate Judge recommending that Plaintiff’s Motion for Final Judgment (Dkt. 50) be granted in
part. Defendant, against whom default was entered because it did not obtain counsel, attempted to
object to the recommendation (Dkt. 54), and Plaintiff responded to the objection (Dkt. 55).

Af’ter careful consideration of the Report and Recommendation in conjunction with an
independent examination of the tile, the Court is of the opinion that the Report and Recommendation
should be adopted, confirmed, and approved in all respects. Accordingly, it is ORDERED:

1) The Report and Recommendation (Dkt. 53) is adopted, confirmed, and approved in
all respects and is made a part of this order for all purposes, including appellate
review.

2) Plaintiff‘s Motion for Final Judgment (Dkt. 50) is GRANTED in part.

3) The Clerk is directed to ENTER DEFAULT FINAL JUDGMENT in favor of
Plaintiff and against Defendant in the amount of $15,000.

4) Defendant’s objection (Dkt. 54) is STRICKEN as an unauthorized filing by a

corporation attempting to proceed pro se. See Palazzo v. GulfOil Corp., 764 F.2d

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1381, 1385 (l lth Cir. 1985) (“a corporation is an artificial entity that can act only

through agents, cannot appear pro se, and must be represented by counsel”).

5) The Clerk is directed to CLOSE this casc.

‘.‘J'
DONE AND ORDERED on this ¢;*i day of Deccmber, 2016.

     
 

351 s o. wHITTEMoRE
omit d States District Judge

  

Copies to:
Counsel of Record
Unrepresented Panies

